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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                                     MDL NO. 2924
   PRODUCTS LIABILITY                                                              20-MD-2924
   LITIGATION
                                                        JUDGE ROBIN L. ROSENBERG
                                              MAGISTRATE JUDGE BRUCE E. REINHART

   _______________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                                  PRETRIAL ORDER # 20
                    Order Establishing the Plaintiffs’ Leadership Structure,
               Appointing Leadership Members and Designating Leadership Duties
                                     and Responsibilities

          On May 6 and 7, 2020, the Court held interviews of sixty-two (62) applicants for

   leadership positions in this multi-district litigation (MDL). The Court, having reviewed all

   submissions by counsel, including all applications for leadership positions pursuant to PTO # 1,

   all disclosures and certifications submitted pursuant to PTO #16, and all initial census data

   submitted pursuant to PTO #15, and having considered the interviews conducted by

   videoconference, due to the inability of the Court to conduct the interviews in person in light of

   the coronavirus pandemic, issues this Order to, among other things, (1) establish the Plaintiffs’

   leadership structure; (2) appoint the Plaintiffs’ leadership members; and (3) designate the

   Plaintiffs’ leadership duties and responsibilities.

   I.     PLAINTIFFS’ LEADERSHIP

          The Court is grateful to all counsel who had the interest and took the time to apply for

   leadership positions through their written submissions and oral presentations. It is an enormous

   personal commitment of time, dedication and resources to lead an MDL of this size and nature.

   There were many well-qualified candidates for leadership positions and choosing among the
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   applicants was a difficult task. In doing so, the Court has considered many factors, including the

   individual applicant’s skill, experience, background, ethical standards, professionalism,

   collaboration, other leadership positions, and reputation earned from colleagues and judges in

   other litigation.

           The disclosures submitted by the leadership applicants provided the Court with the

   necessary added assurance that the applicants did not have any conflicts that would compromise

   their ability to carry out the important role of serving in a leadership role in this litigation. The

   disclosures also further the goal of instilling transparency in the overall process of managing this

   case and, thereby, promotes confidence in the attorneys selected to act on behalf of so many

   others who will rely greatly upon their good judgment and fair dealing. As indicated at the

   hearing, the Court found no issues involving any actual or perceived conflicts from the

   disclosures. For purposes of transparency and informing the ongoing discussion of financial

   disclosures, the Court further notes that no applicant disclosed any third-party litigation

   financing.

           In addition to the individual applicant’s profile, the Court also considered the depth and

   quality of the applicant’s firm, the experience and qualifications of any co-counsel, and the depth

   and quality of co-counsel’s firm. In so doing, the Court sought to draw not only from the many

   prominent nationally known firms that sought leadership, but also from smaller firms as well as

   newer firms, recognizing that each type of firm brings unique and different capacities to the

   litigation.

           The Court also sought to appoint a diverse leadership team that is representative of the

   inevitable diversity of the Plaintiffs in this case, and a team that affords younger and slightly less

   experienced attorneys an opportunity to participate in a leadership role in an MDL. The Court


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   sought to create a team that would collectively bring to bear both wisdom and judgment, and also

   new approaches and ideas. The Court was particularly impressed by the number of applicants

   who have started their own firms, especially the number of female founding partners who applied

   for roles in this litigation — while also noting that at only 31% female applicants, much work

   remains to be done to give judges an applicant pool that reflects the diversity of not only our

   society but our profession, particularly at the senior levels of leadership. So too, the Court noted

   that only a small subset of the applicants identified as non-Caucasian, and that no attorneys

   identified as LGBTQ or disabled, underscoring the breadth of these continuing challenges.

   However, quantitative metrics are only one measure. Through the interview process, the

   applicants displayed a remarkable diversity of life experiences, whether as veterans, immigrants,

   or individual life stories not easily categorized here but which the Court values. The Court hopes

   that as the litigation moves forward, the leadership team will endeavor to build on the diversity

   of its team. The Court also hopes that all counsel and parties will be mindful in using this MDL

   to provide an opportunity for a broader array of attorneys to have experiences that position them

   to take on more senior roles in future MDLs.

          The Court further recognizes the importance of ensuring adequate representation in the

   leadership team for the full range of cases currently pending in the MDL and anticipated to be

   filed in the MDL, as reflected in the initial census data, pursuant to PTO #15. Specifically, the

   Court sought to ensure appropriate representation of anticipated economic injury putative class

   action cases on behalf of consumers and third-party payors; medical monitoring cases; as well as

   the range of personal injury/wrongful death cases reflected in the census. The Court recognizes

   that these needs may change as the MDL advances, and will continue to monitor to ensure that

   the various types of claimants are being appropriately and adequately represented.


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          The Court hopes and assumes that counsel appointed to leadership positions will take full

   advantage of the range of talent among other counsel, whether through the formation of

   appropriate subcommittees or otherwise — and that other counsel, including those who applied

   for leadership positions, will provide assistance as appropriate. In particular, the Court believes

   that certain staffing decisions should be left to its Lead Counsel, to ensure the leadership team

   will function well together — with both creative and diverse ideas, and yet a common vision.

   The Court hopes the Lead Counsel will consider drawing upon the resources of the many

   excellent firms not selected in this order as they build those subcommittees, in furtherance of

   their vision for the litigation.    The Court will consider additional Steering Committee

   appointments as the litigation advances, recognizing the work performed by subcommittee

   members. The quality of the litigation will be greatly enhanced by the collective input of the

   talent of all of the attorneys in the litigation, guided and supported by the leadership team. Many

   attorneys gain invaluable experience and earn outstanding reputations from the work that they

   contribute to an MDL, without any formal leadership position, and this does not go unnoticed by

   their colleagues and the Court.

          The Court was advised by certain applicants that the work of more junior attorneys can

   often be behind-the-scenes, such that neither the Court nor senior leadership is aware of those

   attorneys’ contributions — and thus senior leadership are unable to recommend them when they

   apply for leadership positions in future MDLs. The Court recognizes there are similar challenges

   on the defense side. This Court will look to its leadership team — that appointed here for the

   Plaintiffs, and that which it anticipates appointing for the defendants — to be mindful of how

   they will ensure that junior attorneys are recognized for their contributions in this MDL. More

   broadly, the Court takes this opportunity to advise all parties of its preference that the attorneys


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   actually negotiating a particular issue, drafting a brief or proposed order, or dealing with a

   specific matter be available to speak to that matter in court — a structure the Court hopes will

   further facilitate opportunities for counsel at all levels.

   II.     PLAINTIFFS’ LEADERSHIP STRUCTURE

           The Court puts the following leadership structure in place based on all of the available

   information that the Court has at this time. The Court recognizes it is appropriate to proceed with

   the adoption of a structure for leadership, and to appoint counsel to those positions,

   notwithstanding the many additional cases that continue to be transferred to and direct filed in this

   MDL. If the composition and/or numerosity of cases in this MDL changes significantly throughout

   the litigation, the Court recognizes that it may need to revisit or modify the structure of leadership

   and/or specific appointments, as more fully described below. The Court believes in a centralized

   framework that avoids disadvantages of an overly elaborate infrastructure, provides ample

   resources for vigorous prosecution, delivers strong and flexible leadership, and encourages counsel

   to avoid unnecessary duplication of efforts and to control fees and expenses in this litigation. To

   those ends, the Court finds that Plaintiffs’ leadership should be structured as follows, which

   includes a brief description of the leadership duties and responsibilities (with a more detailed

   description set forth in Section B below):

           a) Co-Lead Counsel

           The Court appoints four (4) Co-Lead Counsel for all economic loss, medical monitoring

   and injury/wrongful death cases (collectively, “Lead Counsel”). Lead Counsel will have the duties

   outlined in the MANUAL FOR COMPLEX LITIGATION (FOURTH) (“MCL Fourth”) Section

   10.221, which include formulating (in consultation with other counsel) and presenting positions




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   on substantive and procedural issues during the litigation.             The authority, duties and

   responsibilities of Lead Counsel are more specifically set forth in Section B, below.

          b) Steering Committee

          The Court establishes a Steering Committee for all economic loss, medical monitoring, and

   injury/wrongful death cases. The Steering Committee will have the duties outlined in the

   MANUAL FOR COMPLEX LITIGATION (FOURTH)(“MCL Fourth”) Section 10.221, which

   include preparing briefs or conducting portions of the discovery program. The Steering Committee

   is established to ensure that all group members’ interests and positions are represented in decision

   making.

          c) Plaintiffs’ Liaison Counsel

          The Court previously appointed Francisco Maderal as the Plaintiffs’ Liaison Counsel, in

   PTO #5. Plaintiffs’ Liaison Counsel will be responsible for facilitating communications with the

   Court and counsel in this action. Liaison counsel will also assist all counsel in complying with the

   rules and procedures of this Court. In addition, Mr. Maderal will serve in an ex-officio capacity

   on the Steering Committee; in this role he will have the same responsibilities as all other members

   of the Steering Committee.

          d) Leadership Development Committee

          This Court is keenly aware of the concerns raised in recent years about the challenges faced

   by less experienced attorneys in obtaining leadership appointments in MDL proceedings. While

   this Order is not the time or place for an exhaustive discussion of this issue, suffice it to say that

   this Court is sensitive to these concerns, as well as the need to have more experienced MDL

   practitioners lead and populate steering committees to adequately represent the interests of

   plaintiffs in large, complex and costly MDL matters.          The Court views these concerns as


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   complimentary, rather than mutually exclusive. In an attempt to balance the needs of this MDL,

   as set forth below, this Court hereby establishes a Leadership Development Committee (LDC).

            The LDC consists of attorneys who applied for leadership positions in this MDL, but whom

   the Court did not select for appointment to the PSC. The Court was impressed by the insights of

   each of these applicants and sees the potential in each of them to become leaders within the MDL

   bar. The Court believes these attorneys will benefit from the mentorship and experience gained

   from participation in a large and complex MDL, and that the MDL will equally benefit from their

   enthusiasm and fresh perspective. The attorneys appointed to the LDC, most of whom have not

   previously been appointed to an MDL steering committee, shall be mentored by and work with

   those attorneys appointed to the PSC. It is the Court’s expectation that the PSC members will

   actively mentor and work closely with the attorneys appointed to the LDC so they have the

   opportunity to play a meaningful role in various aspects of this MDL, including subcommittee

   assignments, and thereby gain further experience in preparation for future service on steering

   committees.

            The Court also directs that Special Master Dodge shall meet periodically with LDC

   members individually, and with the Co-Chairs of the LDC, to ensure that they are receiving

   appropriate opportunities for their ability and skills, including the opportunity to present before

   this Court. To the extent that any Order of this Court conflicts with the ability of the LDC to

   effectuate the Court’s intent in this regard — for example, limitations that may be imposed through

   the anticipated common benefit order on staffing and travel, or the number of presenters at hearings

   — Lead Counsel may request individual waiver of these restrictions, which the Special Master is

   hereby granted authority to approve in her discretion without the need for future Order of this

   Court.


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         A.     Plaintiffs’ Leadership Appointments

         The Court makes the following appointments:

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           All of the foregoing appointments are personal in nature. That is, although the Court

    expects that appointees will draw on the resources of their firms, their co-counsel, and their co-

    counsel’s firms, each appointee is personally responsible for the duties and responsibilities that he

    or she assumes. However, if any counsel appointed to a leadership position leaves his or her firm

    during the course of this litigation, counsel must immediately notify the Court, at which time the

    Court may reassess counsel’s role in a leadership position. If the Court allocates common benefit

    monies at the conclusion of the litigation, the Court may consider all firms with which counsel has

    been affiliated during the litigation and the contributions that each firm has made to the litigation.

    There should be no expectation that all benefits will be afforded to one firm or another.

           The Court will consider a process for periodically evaluating leadership appointees’

    performance and commitment to the tasks assigned, as well as the ongoing needs of the litigation.

    The Court anticipates that this evaluation will happen on an approximately annual basis; but this

    timing will be adjusted as circumstances warrant and at a time that minimizes any disruption to

    the litigation that might occur if changes were made to the team. In evaluating the leadership

    team, the Court will consider the amount of time counsel has devoted to the litigation and the

    resources counsel and/or his or her firm have contributed to the litigation, as well as whether any

    counsel is in arrears in his or her contributions, the ability of counsel to work collaboratively with

    other members of the leadership team and counsel not appointed to a leadership position and the

    commitment counsel has shown to the fair, just and efficient management of the case. The Court



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    will also periodically assess the needs of the litigation overall, including whether any additional

    or different resources are necessary for the Plaintiffs’ leadership as the case progresses.

            The Court declines to appoint an Executive Committee at this time; in lieu of such an

    appointment, the Court makes the following designations:

            Roopal Luhana as the Chair of the ESI/Document Production Committee;

            Ashley Keller as the Chair and Frederick Longer as Co-Chair of the Law & Briefing

    Committee;

            Melanie Muhlstock and Carmen Scott as Co-Chairs of the Leadership Development

    Committee;

            Daniel Nigh as the Chair of the Science & Experts Committee;

            Mikal Watts as the Chair and Brent Wisner as the Co-Chair of the Bellwether & Trial

    Team.

            The Court leaves designation of other committee co-chairs, subcommittee membership,

    and creation of any other committees to the full discretion of Lead Counsel, including the timing

    of such decisions. The Court also directs the Lead Counsel to consider what structure will be most

    useful with respect to state/federal coordination, and to report on its recommendation at an

    upcoming status conference.

            B.     Defining the Authority, Duties, and Responsibilities of Plaintiffs’ Leadership

            The specific duties to be undertaken by Lead Counsel, Liaison Counsel members of the

    Steering Committee, and Leadership Development Committee are as follows:

                   i.      Lead Counsel

            Lead Counsel will be responsible for prosecuting any and all potential common benefit

    claims and class claims, as well as coordinating the pretrial proceedings conducted by counsel


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    for the individual Plaintiffs. With respect to the common benefit claims, class claims and

    coordinated pretrial proceedings, Lead Counsel shall:

           (a) determine (after consultation with members of the Steering Committee and other co-

               counsel as may be appropriate) and present (in briefs, oral argument, or such other

               fashion as may be appropriate, personally or by a designee) to the Court and opposing

               parties the position of the Plaintiffs on matters arising during the coordinated pretrial

               proceedings;

           (b) coordinate the initiation and conduct of discovery on behalf of the Plaintiffs

               consistent with the requirements of Fed. R. Civ. P. 26, including the preparation of

               joint interrogatories and requests for production of documents and the examination

               of witnesses in depositions, except that the discovery and motions initiated by the

               Defendants directed to or regarding named individual Plaintiffs will be handled by

               the attorney(s) for those individuals;

           (c) delegate specific tasks to other counsel in a manner to ensure that pretrial preparation

               for the Plaintiffs is conducted effectively, efficiently and economically;

           (d) enter into stipulations with opposing counsel necessary for the conduct of the MDL;

           (e) convene meetings of the Steering Committee or other subcommittees as necessary for

               the purpose of proposing joint action and discussing and resolving matters of common

               concern;

           (f) organize themselves and agree on a plan for conducting the MDL on behalf of all

               Plaintiffs;

           (g) assess members of the Steering Committee (including Liaison Counsel), Leadership

               Development Committee, and other counsel performing authorized common benefit


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            work common benefit payments into a Common Benefit “Shared Cost” Fund, in

            amounts and at times they determine to be necessary and appropriate in consultation

            with the Steering Committee, collect payments, maintain an account, pay generic

            expense, and account to the Steering Committee and the Court upon request as to the

            collection and use of such funds;

         (h) brief and argue motions for the Plaintiffs and file opposing briefs and argue motions

            and proceedings initiated by other parties (except as to matters specifically directed

            to individual Plaintiffs and heir counsel) or designate the appropriate counsel to carry

            out these tasks;

         (i) consult with and employ expert witnesses;

         (j) maintain time and expense records for work performed, costs incurred and other

            disbursements made or any potential common benefit claim, proof of potential

            common benefit claim, and related matters on behalf of the Steering Committee, and

            report with reasonable regularity, in writing, to the Steering Committee, and Liaison

            Counsel, concerning expenses, disbursements, and receipts;

         (k) monitor work performed by the Steering Committee, Leadership Development

            Committee, Liaison Counsel, subcommittee members and those whose work it has

            specifically authorized;

         (l) perform all tasks necessary to carry out the functions of Lead Counsel and to properly

            coordinate Plaintiffs’ pretrial activities;

         (m) form task-specific subcommittees of counsel, as appropriate;

         (n) authorize Plaintiffs’ counsel to initiate case-specific motions and discovery;

         (o) designate Plaintiffs’ counsel authorized to attend hearings and depositions;


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           (p) conduct settlement negotiations on behalf of Plaintiffs, and enter into settlement

               agreements subject to Court approval;

           (q) if there is a settlement, propose a plan of allocation;

           (r) prepare and distribute periodic status reports to the Steering Committee, the Court,

               and the parties; and

           (s) coordinate and communicate with Defendants’ counsel with respect to the matters

               addressed in this paragraph.

           No generic discovery or other common action or work in this litigation will be undertaken

    on behalf of the Steering Committee except at the direction or with permission of Lead Counsel.

                   ii.     Plaintiffs’ Liaison Counsel

           Plaintiffs’ Liaison Counsel shall maintain up-to-date service lists of all Plaintiffs’

    attorneys involved in this MDL. Liaison Counsel shall ensure that all Orders entered by this

    Court and all papers filed by the Defendants are timely distributed to all Plaintiffs’ counsel in the

    MDL and shall facilitate communication between Plaintiffs’ counsel and the PSC, as well as

    other subcommittee members (including LDC) as directed by Lead Counsel. In addition, Liaison

    Counsel shall work with Lead Counsel in scheduling meetings of the PSC, keeping minutes of

    these meetings, appearing at Court noticed status conferences, and performing other necessary

    administrative or logistic functions for the effective and efficient functioning of the MDL, work

    with Defendants’ counsel to create a single electronic document depository that will be used in

    both this MDL and related state and federal cases and assume any other duties delegated by Lead

    Counsel.




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                   iii.    Steering Committee

            Members of the Steering Committee shall consult with and operate under the direction of

    Lead Counsel in the prosecution of any and all potential common benefit claims and class claims,

    as well as coordinating the pretrial proceedings conducted by counsel for the individual

    Plaintiffs.

                   iv.     Committee Members

            The Chairs and/or Co-Chairs of any subcommittee shall work under and at the direction

    of Lead Counsel in all aspects of their work in this MDL. Committee members, including those

    of the Leadership Development Committee, shall work under the direction of the Committee

    Chair(s) of their committee with respect to all committee work performed in this MDL and at the

    overall direction of Lead Counsel.

    III.    CENSUS REGISTRY

            In PTO #15, the Court ordered that the deadline for the first tranche of Census Plus Forms

    would be 60 days from the date of this Order. The Court hereby extends the deadline for

    submission of the Census Plus Forms for both filed and unfiled cases by 14 days. This extension

    shall only apply to those forms for cases filed in the MDL on or before May 22, 2020, or cases

    for which retention agreements are signed on or before May 22, 2020. Deadlines for cases filed

    or retained after May 22, 2020 are not extended by this Order.

            DONE and ORDERED in Chambers, West Palm Beach, Florida, this 8th day of May,

    2020.



                                                         _______________________________
                                                         ROBIN L. ROSENBERG
                                                         UNITED STATES DISTRICT JUDGE


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